                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF TENNESSEE

RICKY MATLOCK and                                    )
BRIDGET MATLOCK,                                     )
                                                     )
           Plaintiffs,                               )
                                                     )      Case No.: 3:18-cv-00047
v.                                                   )      Judge William L. Campbell, Jr.
                                                     )      Magistrate Alistair Newbern
ROUNDPOINT MORTGAGE SERVICING                        )
CORPORATION, and EMBRACE HOME                        )
LOANS, INC.,                                         )
                                                     )
           Defendants.                               )


______________________________________________________________________________

                   AMENDED CASE MANAGEMENT ORDER
______________________________________________________________________________

           A.     JURISDICTION: The court has jurisdiction pursuant to 28 U.S.C. § 1331 and 12

U.S.C. § 2614 of The Real Estate Settlement and Procedures Act (“RESPA”) and venue is proper

pursuant to 28 U.S.C. § 1391(b).

           B.     BRIEF THEORIES OF THE PARTIES:

                  1.     Plaintiffs’ Theory of the Case: Plaintiffs are borrowers on a federally

related loan on residential property located at 1153 Gallion Road, Cumberland Furnace,

Tennessee. Plaintiffs paid to the Defendants escrow funds on a monthly basis for them to pay

taxes and insurance premiums on the subject property.


                  Defendant RoundPoint Mortgage Servicing Corporation (“RoundPoint”) and

Defendant Loancare, LLC (“Loancare”) were loan servicers for the mortgage loan of Plaintiffs at

the time relating to the factual allegations herein.     Defendant Embrace Home Loans, Inc.



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(“Embrace”) was the lender and a servicer for the mortgage loan of the Plaintiffs at the time

relating to the factual allegations herein.


                Pursuant to the Deed of Trust, Defendants held funds in an escrow account to pay

property taxes, mortgage insurance and homeowner's insurance premiums in relation to the subject

property. Defendants determined the amount of the monthly escrow payment on an annual basis,

and Plaintiffs have made all payments due pursuant to the mortgage loan and Deed of Trust in a

full and timely fashion.


                On January 8, 2014, Plaintiffs obtained automatically renewable homeowners

insurance coverage from State Farm Fire And Casualty Company ("State Farm") on the

replacement value of the dwelling, outbuilding and contents located at the subject property,

showing that Defendant Embrace was an additional insured and that the bills would be sent to

Lender. Plaintiffs have not cancelled their homeowners coverage through State Farm at any time

since 2014.


                In January of 2015, Defendants were paying the homeowners insurance premium

to State Farm on an annual basis. Defendants included said payment in their annual calculation of

the escrow payment. Defendants were billed for the homeowner’s policy period January 15, 2016-

January 15, 2017, and in fact paid that premium to State Farm.


                State Farm billed Defendants for this insurance in November 2016 at the same

address as the year before. The date due for the payment of the insurance premium was January

15, 2017. Although Defendants were aware of the due date, Defendants failed to pay the insurance

premium until February 24, 2017.



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               On February 17, 2017, there was a fire at the subject property, resulting in damage

to the building and some of the contents of the building. Plaintiffs reported this loss to their State

Farm agent. State Farm advised the Plaintiffs that the policy was effectively cancelled for non-

payment. After the fire, Plaintiffs discovered that Defendants had failed to pay the annual premium

that was due on January 15, 2017.


               Defendants’ failure to pay the insurance premium for the subject property violates

12 U.S.C. § 2605(g) and 12 CFR § 1024.34. Additionally, Defendants failed to rectify this

situation in response to the Notice of Error submitted on July 27, 2017.


               Plaintiffs’ actual damages are recoverable from Defendants pursuant to 12 U.S.C.

§ 2605(f)(1)(A) as well as additional damages under 12 U.S.C. § 2605(f)(1)(B).


               Plaintiffs are entitled to the costs of this action plus reasonable attorney fees

pursuant to 12 U.S.C. § 2605(f)(3).


               2.      Defendants RoundPoint and Embrace’s Theory of the Case:

Defendants RoundPoint and Embrace (collectively, the “Defendants”) state that the Plaintiffs have

failed to assert a cause of action against them, and as such, Defendants filed a Motion to Dismiss

and Brief in support thereof on March 12, 2018 and re-filed their Motion on September 27, 2018

to the Amended Complaint to the extent a new or renewed motion was needed. Among other

things, the Defendants assert that (1) the Plaintiffs failed to allege sufficient facts whereby this

Court could conclude that the Defendants were in possession of necessary information (i.e., the

Renewal Insurance Certificate) in order to pay Plaintiffs’ renewal insurance premium and comply

with their RESPA duties under 12 U.S.C. § 2605(g); (2) Plaintiffs’ breached duties in their Deed

of Trust by not forwarding insurance policy renewal information (of which they were in

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possession) so that Defendants could comply with their RESPA duties under 12 U.S.C. § 2605(g);

and (3) Plaintiffs’ claim under 12 U.S.C. § 2605(e) fails because the Notice of Error (“NOE”) was

sent after the fire, and thus, any noncompliance on the part of the Defendants could not be

attributable to the NOE. Simply put, the Defendants cannot be held liable for failing to pay an

insurance premium renewal when they did not have sufficient information in order to make the

payment.

           Defendants further deny that they paid prior insurance policy renewals. Rather, these

renewals were paid by a prior servicer and that prior servicer was sent the renewal in question.

The prior servicer did not forward any insurance renewal information to the Defendants. Further,

on multiple occasions, Defendants contacted the Plaintiffs and their insurance agent in order to get

the mortgagee clause updated on the insurance policy as well as to obtain a copy of any renewal

but neither the Plaintiffs nor their insurance agent responded to the Defendants until after the fire.

                  3.     Defendant LoanCare’s Theory of the Case: LoanCare asserts that the

Plaintiffs have failed to state any claim against it, and as such, filed a Motion to Dismiss on

October 9, 2018. LoanCare was added to the case by way of the Amended Complaint filed on

September 7, 2018. However, there is no mention of LoanCare whatsoever within the factual

allegations in the Amended Complaint. As such, LoanCare should be dismissed from this case.

           Aside from the Amended Complaint failing to state a claim, the known facts of this case

show that LoanCare is not a proper Defendant. The Plaintiffs’ case centers on an allegation that

their loan servicer did not pay to renew their homeowners’ insurance policy in late 2016/early

2017 (bill sent November 2016 with a due date of February 24, 2017). LoanCare has serviced the

subject mortgage loan twice. The first time, servicing ended and transferred to Defendant

RoundPoint on February 2, 2016. RoundPoint serviced the loan from February 2, 2016, until


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September 5, 2017, when servicing was transferred back to LoanCare. It is believed that LoanCare

was added as a Defendant because the renewal statement listed LoanCare as the mortgagee. This

is likely because LoanCare was the servicer at the time of the prior renewal. However, once

servicing transferred to RoundPoint, it was the Plaintiffs’ responsibility to change the mortgagee

with their insurance company so that the renewal statement was sent to the right mortgagee. Once

servicing transferred, LoanCare had no responsibility under any law to pay for the renewal policy

or to notify the insurance company of the change of servicer.

           C.   ISSUES RESOLVED: Jurisdiction and venue.

           D.   ISSUES STILL IN DISPUTE: Liability and damages.

           E.   INITIAL DISCLOSURES: Plaintiff and Defendants RoundPoint and Embrace

have already exchanged initial disclosures between one another. Defendant LoanCare shall

provide its initial disclosures pursuant to Fed. R. Civ. P. 26(a)(1) on or before November 9, 2018.

           F.   CASE RESOLUTION PLAN AND JOINT STATUS REPORTS:                                The

parties are encouraged to consider the Alternative Dispute Resolution options provided in Local

Rule 16.02 through 16.07. Accordingly, the parties propose to conduct a non-binding mediation

of their dispute on or before February 15, 2019 in order to permit time for a ruling on the

pending Motions to Dismiss and to allow the parties sufficient time to conduct initial fact

discovery in the matter to maximize the possibility of successful resolution at the mediation.

The parties also agree that approximately fourteen (14) days following the conclusion of factual

discovery, or on or before May 10, 2019, that they will submit a joint report confirming that the

parties made a good faith attempt to resolve the case as well as any additional ADR that they

believe at the time might assist them in resolving their dispute. If a judicial settlement

conference is requested in either joint report or separately, the parties shall also state (i) the


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reasons why mediation is not feasible; (ii) their proposed timing for scheduling of the settlement

conference; and (iii) any preference of a particular Magistrate Judge to conduct the settlement

conference.

           G.     DISCOVERY: The parties shall complete all written discovery and depose all fact

witnesses on or before April 26, 2019. Written discovery should proceed promptly (unless

otherwise provided for herein) and shall be served by no later than March 8, 2019. Discovery is

not stayed during dispositive or other motions, unless ordered by the Court. No discovery disputes

may be brought to the Court for resolution before lead counsel for all parties has conducted an in-

person meeting and made a good faith effort to resolve any dispute(s). Discovery disputes that

cannot be resolved after the in-person meeting should be brought promptly to the attention of the

Magistrate Judge by a request for a discovery conference. It will be within the Magistrate Judge’s

discretion whether to allow for the filing of discovery- related motions. All discovery motions shall

be filed by no later than May 3, 2019.

           In connection with any discovery conference or discovery motion, the parties shall file a

joint discovery dispute statement, which describes the specific discovery request(s) in dispute and

details each party’s position with supporting fact and legal authorities. The joint discovery dispute

statement shall certify that lead counsel for all parties conducted the aforementioned in-person

meeting and made a good faith effort to resolve each discovery dispute presented in the statement.

If the joint statement is sufficiently detailed, any party may adopt by reference the joint statement

for purposes of Local Rule 7.01, but must clearly state in the filing made in accordance with the

timing requirements of Local Rule 7.01 that the joint statement is adopted as the party’s

memorandum of law or response.




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           H.         MOTIONS TO AMEND OR TO ADD PARTIES: Pursuant to this Court’s

order dated September 7, 2018 (D.E. 34), Plaintiffs’ deadline to amend pleadings or add parties is

30 days following the filing of Defendants’ Answers. Defendants have 30 days to amend their

pleadings following the filing of any amendment by Plaintiffs.

           I.     DISCLOSURE AND DEPOSITIONS OF EXPERTS: The plaintiff shall

identify and disclose all expert witnesses and expert reports on or before May 17, 2019. The

defendant shall identify and disclose all expert witnesses and reports on or before June 7, 2019.

           Rebuttal    experts   shall   be   permitted   only   by   leave   of   court.   Unless

otherwise provided for in a separate pretrial order, supplemental expert disclosures, which

specifically include, but are not limited to, any supplemental information to expert reports, must

be made in accordance with Rule 26(a) and (e). Supplemental expert opinions or other expert

disclosures not timely disclosed may be excluded at trial. See Local Rule 39.01(c)(6.d). Expert

depositions shall be completed by June 21, 2019.

           J.         SUBSEQUENT CASE MANAGEMENT CONFERENCE. A subsequent

case management conference shall be held telephonically on March 13, 2019 at 9:30 a.m, to

address: status of discovery (including any known or anticipated discovery issues or disputes);

prospect for settlement (including propriety of ADR); and, any other appropriate matters. The

parties shall call (888) 557-8511 and enter access code 7819165# to participate.

           K.         DISPOSITIVE MOTIONS: As provided above, the parties must attempt to

resolve the case prior to the filing of dispositive motions. Dispositive motions shall be filed by no

later than July 19, 2019. Responses to dispositive motions shall be filed within 28 days after the

filing of the motion. Briefs or memoranda of law in support of or in opposition to a dispositive

motion shall not exceed 25 pages. Optional replies may be filed within 14 days after the filing of


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the response and shall not exceed 5 pages. No motion for partial summary judgment shall be filed

except by permission of the Court. Any party wishing to file such a motion shall first file a separate

motion that gives the justification for filing a partial summary judgment motion in terms of overall

economy of time and expense for the parties, counsel, and the Court.

           L.   ELECTRONIC DISCOVERY. The parties have reached an agreement on how to

conduct electronic discovery. Administrative Order No.174 therefore need not apply to this case.

In the absence of an agreement, the default standards of Administrative Order No. 174 will apply.

Any agreement between the parties to address the topics provided by Administrative Order No.

174 must be reduced to writing, signed by counsel, and either filed as a stipulation of agreed-upon

electronic discovery procedures, or, if the parties request court approval, submitted as proposed

agreed order with an accompanying motion for approval.

           M.   MODIFICATION OF CASE MANAGEMENT ORDER. Any motion to

modify the case management order or any case management deadline shall be filed at least seven

(7) days in advance of the earliest impacted deadline. Unless a joint motion, the motion for

modification must include a statement confirming that counsel for the moving party has discussed

the requested modification or extension with opposing counsel and whether or not there is any

objection to the requested modification or extension. The motion for modification must also

include: (i) the trial date and all deadlines, even unaffected deadlines, so that it will not be

necessary for the Court to review one or more previous case management orders in consideration

of the motion and (ii) a statement that the requested extension will still conform to the requirements

of Local Rule 16.01(d)(2.f) that no dispositive motion deadline, including response and reply

briefs, shall be later than 90 days in advance of the trial date. Motions for extensions should also

detail the moving party’s efforts at diligently complying with the originally schedule deadline and


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the facts demonstrating good cause for modification of the deadline as required by Fed. R. Civ. P.

16(b)(4).

           N.        REQUESTS TO SEAL DOCUMENTS OR PORTIONS OF DOCUMENTS.

Any party requesting that documents or portions of documents be sealed, including without

limitation for use as exhibits at trial, must file a motion to seal in accordance with Section 5.07 of

Administrative Order No. 167 (Administrative Practices and Procedures for Electronic Case

Filing) and Local Rule 7.01, which demonstrates compelling reasons to seal the documents and

that the sealing is narrowly tailored to those reasons. The motion to seal, even if unopposed, must

specifically analyze in detail, document by document, the propriety of secrecy, providing factual

support and legal citations. Generally, only trade secrets, information covered by a recognized

privilege (such as the attorney-client privilege), and information required by statute to be

maintained in confidence is typically enough to overcome the presumption of public access.

Failure to comply with these procedures or to provide sufficiently compelling reasons may result

in denial of the request to seal documents or portions of documents. Protective orders should not

provide that documents produced in discovery and designated as “confidential” will be

automatically sealed upon filing or if used at trial. Any such language in proposed protective orders

will be stricken and may result in denial of the motion for entry of the proposed protective order.

           O.        ESTIMATED TRIAL TIME AND TARGET TRIAL DATE: The jury trial

of this action is expected to last approximately two (2) days. A trial date no earlier than September

23, 2019 is respectfully requested. 1 The target trial date is December 11, 2019.


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  The parties were also reminded during the case management conference of their option to consent to final disposition
by the Magistrate Judge pursuant to Fed. R. Civ. P. 73 and Local Rule 73.01. As discussed, if the parties wish to utilize
this option, they may jointly complete and electronically file the form Notice, Consent and Reference of a Civil Action
to a Magistrate Judge found on the Court’s website under the link for Forms. Not consenting will not result in any
adverse consequences, and the Notice should be filed only if all parties consent to final disposition by the Magistrate
Judge.
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           It is so ORDERED.


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                                    ALISTAIR E. NEWBERN
                                    UNITED STATES MAGISTRATE JUDGE




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